     Case
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 4

 5

 6                         UNITED STATES DISTRICT COURT

 7                               DISTRICT OF NEVADA

 8

 9    UNITED STATES OF AMERICA,          Case No. 3:12-CR-00121-LRH-WGC

10                Plaintiff,             ORDER

11             vs.

12    BRET OGILVIE, and
      LINWOOD TRACY,
13
                   Defendants.
14                                 /

15           Good cause appearing therefor,

16           IT IS HEREBY ORDERED that defendant Linwood Tracy, Jr. may

17    have up to and including December 18, 2013 in which to file

18    points and authorities regarding his motion to dismiss, that the

19    response by the Government may be filed by December 27, 2013,

20    and that the replies may be filed by January 6, 2014.

21           DATED this 13th     day of December, 2013.

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24
                                         UNITED STATES DISTRICT JUDGE
25
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26
                                             LARRY R. HICKS
27                                           UNITED STATES DISTRICT JUDGE

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